                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      No. 2:14-CR-035
                                                 )
SERGIO VERDIN REYES                              )


                            MEMORANDUM AND ORDER

                Now before the court is the defendant’s motion to continue his trial date

 and plea deadline. [Doc. 115]. Defense counsel indicates that pretrial investigations

 and negotiations are ongoing and that he will need additional time to prepare should

 this case go to trial.

                The court finds that the ends of justice served by granting the motion

 outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.

 § 3161(h)(7)(A). In light of the reasoning set forth by the defendant, the court finds

 that the failure to grant the motion would deny the defense reasonable time necessary

 for effective preparation. 18 U.S.C. § 3161(h)(7)(B)(iv). The motion requires a delay

 in the proceedings. Therefore, all the time from the filing of the motion to the new trial

 date is excludable as provided by the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A).

                The defendant’s motion [doc. 115] is GRANTED. This criminal case is

 CONTINUED from November 4, 2014, to Tuesday, January 13, 2015, at 9:00 a.m.

 in Greeneville. The new plea cutoff date is December 22, 2014.




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        IT IS SO ORDERED.

                                               ENTER:



                                                     s/ Leon Jordan
                                               United States District Judge




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